Case: 1:19-cv-02952 Document #: 44 Filed: 09/03/19 Page 1 of 1 PagelD #:2070

U.S. District Court for the Northern District Of [Illinois
Attorney Appearance Form

 

«.. ART AKIANE LLC., v. -19-cv-02952
Case Title: ay & SOUL WORKS LLC., Case Number:

et al.,
An appearance is hereby filed by the undersigned as attorney for:
Carpentree, Inc.

Attorney name (type or print): Ryan D. Janski
Firm: Litchfield Cavo, LLP

Street address: 303 W. Madison Street, Suite 300
City/State/Zip: Chicago, IL 60606

Bar ID Number: 6317302 Telephone Number: 3127816667

(See item 3 in instructions)

Email Address: janski@litchfieldcavo.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Are you acting as lead counsel in this case? Yes |#%| No
Are you acting as local counsel in this case? Yes |] No
Are you a member of the court's trial bar? Yes |} No
If this case reaches trial, will you act as the trial attorney? [| Yes [y| No

 

 

If this is a criminal case, check your status. | Retained Counsel

 

 

Appointed Counsel
If appointed counsel, are you

 

 

 

 

Federal Defender
CJA Panel Attorney

 

 

 

 

In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on

Attorney signature: | S/_Ryan D. Janski
(Use electronic signature if the appearance form is filed electronically.)

Revised 8/1/2015
